                    Case 2:00-cr-00445-JAM Document 152 Filed 06/15/10 Page 1 of 3
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
            RAMON MARTIN GOMEZ
                      (Defendant’s Name)                                  Criminal Number: 2:00CR00445 05


                                                                          L. NEGIN, AFD
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U]       adm itted guilt to violation of charges 1 THROUGH 5 as alleged in the second superseding violation petition filed
          on 5/12/2010 .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
See next page.




The court: [U] revokes supervision heretofore ordered on 8/2/2001 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.



          Any previously imposed criminal monetary penalties that remain unpaid shall remain in
effect.

       IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.

                                                                 6/8/2010
                                                                 Date of Imposition of Sentence

                                                                 /s/ John A. M endez
                                                                 Signature of Judicial Officer

                                                                 JOHN A. M ENDEZ, United States District Judge
                                                                 Name & Title of Judicial Officer

                                                                 06-15-2010
                                                                 Date
                    Case 2:00-cr-00445-JAM Document 152 Filed 06/15/10 Page 2 of 3
AO 245D-CAED (Rev. 3/04) Judgment in a Criminal Case for Revocation Sheet I
CASE NUMBER:                2:00CR00445 05                                                     Judgment - Page 2 of 3
DEFENDANT:                  RAMON MARTIN GOMEZ

                                                       ADDITIONAL VIOLATION
                                                                              Date Violation
Violation Num ber                    Nature of Violation                      Concluded

1                                    FAILURE TO PARTICIPATE IN HOME DETENTION        5/8/08
2                                    FAILURE TO PARTICIPATE IN THE INTERMEDIATE
                                     SANCTION PROGRAM                                6/4/08
3                                    USE OF ALCOHOLIC BEVERAGES                      5/29/08
4                                    NEW LAW VIOLATION                               6/19/08
5                                    ASSOCIATION W ITH PROHIBITED PERSON             6/19/08
                    Case 2:00-cr-00445-JAM Document 152 Filed 06/15/10 Page 3 of 3
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:00CR00445 05                                                                Judgment - Page 3 of 3
DEFENDANT:                 RAMON MARTIN GOMEZ



                                                        IMPRISONMENT
The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a total term
of

24 MONTHS, TO BE SERVED CONSECUTIVELY TO ANY SENTENCE OF IMPRISONMENT THAT THE DEFENDANT
IS SERVING.

NO SUPERVISION IS TO FOLLOW.

[U]      The court m akes the following recom m endations to the Bureau of Prisons:
           The Court recom m ends the defendant participate in the 500-Hour Bureau of Prisons Substance Abuse
         Treatm ent Program .


[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
